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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
AARON STAHEL,
Plaintiff,
CASE NO.:
vs.
BENNETT RETIREMENT

COMMUNITIES, LLC, d/b/a Curlew
Care of Clearwater and K AND D
CARE COMMUNITIES, LLC, d/b/a
Evergreen Manor Retirement Home
AND KATHRYN D. GARCIA,
INDIVIDUALLY,
Defendants. /
COMPLAINT & DEMAND FOR JURY TRIAL
Plaintiff, AARON STAHEL, (“STAHEL” or “Plaintiff’) was an employee of
Defendants, BENNETT RETIREMENT COMMUNITIES, LLC, d/b/a Curlew Care of
Clearwater, (‘BENNETT’), K AND D CARE COMMUNITIES, LLC, d/b/a Evergreen Manor
Retirement Home (“K and D”) and KATHRYN D. GARCIA, Individually (“GARCIA”)
(collectively referred to as “Defendants”) and brings this action for unpaid overtime
compensation, unpaid minimum wages, liquidated damages and other relief under the Fair Labor
Standards Act, as amended, 29 U.S.C. § 216(b) (the “FLSA”).
JURISDICTION AND VENUE
L. Plaintiff brings this action pursuant to 29 U.S.C. § 216(b) and 29 U.S.C. §§ 206(a)
and 207(a).

2. The Fair Labor Standards Act was passed in 1938. Its principle purpose was to

protect all covered workers from substandard wages and oppressive working hours, labor

 
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conditions that are detrimental to the maintenance of minimum standards of living necessary for
health, efficient, and the general well-being of workers. Barrentine v. Arkansas-Best Freight
System, Inc., 450 U.S. 728, 739, 101 S.Ct. 1437, 1444 (1981).

3. Section 6(a) of the FLSA requires payment of at least the statutory minimum
wage for all hours worked per workweek. 29 U.S.C. § 206(a).

4. Section 7(a) of the FLSA requires payment of time-and-one-half an employee’s
regular hourly rate whenever a covered employee works in excess of forty (40) hours per work
week. 29 U.S.C. § 207(a).

= The liquidated damages provision of the FLSA constitutes a congressional
recognition that failure to pay the statutory minimum on time may be so detrimental to the
maintenance of the minimum standard of living necessary for health, efficiency, and the general
well-being of workers and to the free flow of commerce, that double payment must be made in
the event of a delay in order to insure restoration of the worker to that minimum standard.
Brooklyn Sav. Bank v. O'Neil, 324 U.S. 697, 707-08, 65 S.Ct. 895, 902 (1945).

6. To the extent any partial payments have been made by Defendants to Plaintiff of
the disputed amounts at the time of the filing of this complaint, this action seeks to recover
judgment in favor of Plaintiff and against Defendants as well as all remaining damages,
including but not limited to liquidated damages and reasonable attorneys’ fees and costs. Id.

INTRODUCTION

7: Jurisdiction in this Court is proper as the claims are brought pursuant to the Fair
Labor Standards Act, as amended (29 U.S.C. §201, et seq., hereinafter called the “FLSA”) to
recover unpaid overtime wages, minimum wages, an additional equal amount as liquidated

damages and reasonable attorney’s fees and costs.

 
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8. This Court has jurisdiction over Plaintiff's claims pursuant to 28 U.S.C. §1331 and
the FLSA.

9. At all times material hereto, Plaintiff, STAHEL was a resident of Pinellas County,
Florida.

10. Defendant, BENNETT, conducts business in, among others, Pinellas County,
Florida, therefore venue is proper in the Middle District of Florida, Tampa Division, pursuant to
28 U.S.C. § 1391(b)(1) & (c).

11. Defendant, K and D, conducts business in, among others, Pinellas County,
Florida, therefore venue is proper in the Middle District of Florida, Tampa Division, pursuant to
28 U.S.C. § 1391(b)(1) & (c).

PARTIES

12, Defendant, BENNETT, a Florida Profit Corporation, is a company categorized as
a retirement home located at 2730 Curlew Road, Clearwater, Florida 33761.

133 Defendant, K and D, a Florida Limited Liability Corporation, is in the business of
operating a retirement home located at 3297 SR 580, Safety Harbor, Florida 34695.

14. At all times relevant to this action, GARCIA was an individual resident of the
State of Florida, who owned and/or operated BENNETT and K and D, and who regularly
exercised the authority to: (a) hire and fire employees of BENNETT and K and D; (b) determine
the work and pay schedules for the employees of BENNETT and K and D; (c) control the
finances and operations of BENNETT and K and D; and (d) was responsible for the overall
business operations of BENNETT and K and D.

15, Plaintiff was employed by Defendants as salaried non-exempt cook from on or

around January 2019 through May 2019.

 
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COVERAGE

16. At all material times during the last three years, Defendant, BENNETT was an
enterprise covered by the FLSA, and as defined by 29 U.S.C. §§ 203 (r) and 203 (s).

17. At all material times during the last three years, Defendant, K and D was an
enterprise covered by the FLSA, and as defined by 29 U.S.C. §§ 203(r) and 203 (s).

18. Defendants BENNETT and K and D each provide assisted living services to their
residents.

19. Defendants BENNETT and K and D perform related activities, through a unified
operation or common control, and for a common business purpose.

20. At all material times, Defendants BENNETT and K and D have an annual gross
volume of sales made or business done of not less than $500,000 (exclusive of excise taxes at the
retail level which are separately stated).

21. Atall times material, Defendants BENNETT and K and D have been enterprises
engaged in commerce or in the production of goods for commerce within the meaning of Section
203(s)(1) of the FLSA, in that the company had two or more employees:

a. Engaged in commerce; or

b. Engaged in the production of goods for commerce; or
c. Handling, selling or working on goods or materials that have been moved in
or produced for commerce. (i.e. beds, medical supplies, and/or office
supplies).
22. Therefore, Defendants BENNETT and K and D operate as a joint enterprise covered
by the FLSA, and as defined by 29 U.S.C. §§ 203(r) and 203(s).

GENERAL ALLEGATIONS

 
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23. | Defendant, BENNETT, is a company classified as a retirement home/assisted
living facility.

24. Defendant, K and D, is a company classified as a retirement home/assisted living
facility.

25. At all material times during the last three years, Defendants were employers as
defined by 29 U.S.C. § 203(d).

26. Defendants control and supervise their employees and also have the power to
determine their rates of pay and hire/fire them.

27. Plaintiff earned a salary in exchange for work performed as a cook for Defendants
from on or around January 2019 through April 2019.

28. Plaintiff performed cooking duties for Defendants at their BENNET facility
located at 2730 Curlew Road, Clearwater, Florida 33761.

29. Plaintiff performed cooking duties for Defendants at their K and D facility
Located at 3297 SR 580, Safety Harbor, Florida 34695.

30. Defendants were joint “employers” of Plaintiff within the meaning of the FLSA.

31. Plaintiff was an “employee” of Defendants within the meaning of the FLSA.

oe Plaintiff regularly worked in excess of forty (40) hours per week throughout his
employment with Defendants.

33. Despite working more than forty (40) hours per week during one or more work
weeks, Defendants failed to pay Plaintiff overtime compensation at a rate of time and one-half
times him regular rate of pay for hours worked over forty (40) in a workweek, contrary to
§207(a) of the FLSA.

34. Plaintiff did not receive his last paycheck from Defendants.

 
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35.  Asaresult, Plaintiff did not earn at least the statutory minimum wage for all hours
worked during his last pay period worked for Defendants.

36. Defendants knowingly, willfully, or with reckless disregard carried out its illegal
pattern or practice of failing to pay proper overtime and minimum wage compensation to
Plaintiff.

37. Defendants did not act in good faith or reliance upon any of the following in
formulating its pay practices: (a) case law, (b) the FLSA, 29 U.S.C. § 201, er seq., (¢)
Department of Labor Wage & Hour Opinion Letters or (d) the Code of Federal Regulations.

38. Defendants had acted willfully in failing to pay Plaintiff in accordance with the
law.

39. | Defendants failed to maintain proper time records as mandated by law.

40. Defendants failed to post informational posters as required by law advising its

employees of their rights under the FLSA.

COUNT I - RECOVERY OF OVERTIME COMPENSATION

41. Plaintiff reincorporates and readopts all allegations contained within Paragraphs
1-40 above.
42. Plaintiff was entitled to be paid time and one-half of his regular rate of pay for

each hour worked in excess of forty (40) per workweek.

43. | From on or about January 2019 through April 2019 during his employment with
Defendants, Plaintiff worked overtime hours without receiving time and one-half compensation
for same during one or more workweeks contrary to the FLSA.

44. Plaintiff should have earned time and one-half compensation for each hour

worked in excess of forty (40) hours per workweek.

 
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45. Defendants had knowledge of the overtime hours worked by Plaintiff.

46. Defendants are aware of the laws which require its employees be paid overtime
compensation on a week by week basis.

47. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA
within the meaning of 29 U.S.C. 255(a).

48. As aresult of Defendants’ intentional, willful and unlawful acts in refusing to pay
Plaintiff his proper overtime wages during one or more workweeks, Plaintiff has suffered
damages, plus incurring reasonable attorneys’ fees and costs.

49, As a result of Defendants’ willful violation of the FLSA, Plaintiff is entitled to
liquidated damages.

50. Plaintiff is entitled to an award of reasonable attorney’s fees and costs pursuant to
29 U.S.C. §216(b).

WHEREFORE, Plaintiff respectfully requests that judgment be entered in his favor
against Defendants;

a. Awarding Plaintiff overtime compensation in the amount due to him for the
time worked in excess of forty (40) hours per workweek;
b. Awarding Plaintiff liquidated damages in an amount equal to the overtime
award, or alternatively, awarding pre-judgment interest;
c. Awarding reasonable attorney’s fees and costs and expenses of the litigation
pursuant to 29 U.S.C. §216(b); and
d. Ordering any other further relief the Court deems just and proper.
COUNT II - RECOVERY OF MINIMUM WAGES
Si. Plaintiff reincorporates and readopts all allegations contained within Paragraphs

1-40 above.

 
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52. Plaintiff was entitled to earn the statutory minimum wage rate for all hours
worked per week while employed as a cook for Defendants.

53. Plaintiff is entitled to receive the applicable statutory Florida minimum wage rate
for all hours worked during his employment with Defendants pursuant to 29 C.F.R. 778.5.

54. Defendants failed to compensate Plaintiff at the applicable statutory minimum
wage rate for all hours worked per week during one or more workweeks.

55; Defendants were aware of the laws which required that its employees be paid at
least the statutory minimum wage for all hours worked per workweek.

56. Despite its knowledge of these laws, Defendants violated the FLSA’s provision
on minimum wages (29 U.S.C. §206).

57. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA
within the meaning of 29 U.S.C. 255(a).

58. As aresult of Defendants’ intentional, willful and unlawful acts in refusing to pay
Plaintiff his proper minimum wages during one or more workweeks, Plaintiff has suffered
damages, plus incurring reasonable attorneys’ fees and costs.

59. As a result of Defendants’ willful violation of the FLSA, Plaintiff is entitled to
liquidated damages.

60. Plaintiff is entitled to an award of reasonable attorney’s fees and costs pursuant to
29 U.S.C. §216(b).

WHEREFORE, Plaintiff respectfully requests that judgment be entered in his favor
against Defendants;

a. Awarding Plaintiff his unpaid minimum wages;

b. Awarding liquidated damages in an amount equal to the minimum wage award, or

 
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C.

alternatively, awarding pre-judgment interest:
Awarding reasonable attorney’s fees and costs and expenses of the litigation

pursuant to 29 U.S.C. §216(b); and

d. Ordering any other further relief the Court deems just and proper.

JURY DEMAND

Plaintiff demands trial by jury on all issues so triable as a matter of right by jury.

Dated:

 

Respectfully submitted-by,

 

Kimberly De Arcangelis, Esq.
Bar No.: 0025871 _

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